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Case 2:11-cv-07305-JAK-PJW Document 43 Filed 12/27/11 Page 1 of 5 Page |D #:219

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Case 2:11-cv-07305-JAK-PJW Document 43 Filed 12/27/11 Page 2 of 5 Page |D #:220

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Case 2:11-cv-07305-JAK-PJW Document 43 Filed 12/27/11 Page 3 of 5 Page |D #:221

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Case 2:11-cv-'07305-JAK-PJW Document 43 Filed12/27/11

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Page 4 of 5 Page |D #:222
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Case 2:11-cv-07305-JAK-PJW Document 43 Filed 12/27/11 Page 5 of 5 Page |D #:223

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